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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Devon Bank, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:17−cv−09286
                                                           Honorable John Z. Lee
United States of America, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 26, 2018:


       MINUTE entry before the Honorable John Z. Lee:Plaintiff's response to
Defendant's motion to strike subparagraphs [22] shall be due by 3/13/18; reply due by
3/20/17. No appearance is required on the motion.Mailed notice(ca, )




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